Case 1:18-cv-01654-.]E.]-Kl\/| Document 4 Filed 08/21/18 Page 1 of 2

-1 Federal District Court
7 lV|iddle.District
Commonwealth of Pennsylvania

7 Certlflcate of Service 8/21/2018

 

 

 

l the undersigned her§§y certify l delivered the following documents via Personal l

service and us mai|.

` 1) Petition for redress for Decelerator and injunctive relief.
2) Exhiloits (A- -L)

'°“to the following offices below; ' " '

Commonwealth of Pennsylvania
Tom Wolf GovernorOffice

508 l\/lain Capitol Building"
Harrisburg, PA17120 ~ v » 7 » ~
1717 787 2500

 

Commonwealth of Pennsylvanla A@Av.\ \{A+qg,
Flobert Torres/ Jonathan l\/|arks Department of State ,Q lN) §§ CVN\\G~PX
302 North Office Building ~ 7 .

401 North Street Harrisburg PA17120

Cornmonwealth» of -Pennsylvania" ~
~Josh Shapiro Attorney General 7
16 F|oor, Strawberry Square 17120
1717-787- 3391

    

§§ f "
1717 787 3300

Peter J Weish Acting C|erk of Courts
Ronald Reagan Federal Building

US Court House

228 Wa|nut Street

Harrisburg PA17101

US_ C|erk personal Service

 

 

 

Case 1:18-cv-01654L.]E.]-Kl\/| Document4 Filed 08/21/18

Federal District Court
l\/liddle District
Commonwealth of Pennsylvania

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7Green 1

Libertarian

Constitution Party

l Blaine Shahan of LNP/AP/USNeWs and World Report.»

Joshua A l\/|onighan Taxpayer
6363 Basehore Rd 7
l\/lechanicsburg PA17050
\~~~1717319 8014 "

-~ jmonighan'@gmai_l.com

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SWQAmd Subscribed T_his£1j day of

 

Page 2 of 2

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Commonwealth of Pennsylvania

   
   
   
    
     
   

Notarial Seal

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N\y Commission Expires jul 12 202

  

    

